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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 ACADIA HEALTHCARE COMPANY, INC.
 and HABIT OPCO, LLC,
    Plaintiffs,

 v.                                              C.A. No. _________________

 CITY OF FITCHBURG, CITY OF
 FITCHBURG ZONING BOARD OF
 APPEALS, FELIX ZEMEL, LAUREN
 McNAMARA, MICHAEL O’LAUGHLIN,
 CHRISTINE TREE, BRIAN GALLAGHER,
 and GREG BABINEAU,
    Defendants.

        NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT
                           28 U.S.C. § 1441(a)

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MASSACHUSETTS:

       Petitioners, CITY OF FITCHBURG (the “City”), CITY OF FITCHBURG ZONING

BOARD OF APPEALS, FELIX ZEMEL, LAUREN McNAMARA, MICHAEL O’LAUGHLIN,

CHRISTINE TREE, BRIAN GALLAGHER, and GREG BABINEAU (collectively, the

“Municipal Defendants”), respectfully petition this Court, pursuant to 28 U.S.C. § 1441(a), for

removal of the above-entitled action to the United States District Court for the District of

Massachusetts, Civil Section, from the Superior Court of the Commonwealth of Massachusetts in

and for the County of Worcester, and for its Notice of Removal states as follows:

       1.     The Municipal Defendants are named as Defendants by the Plaintiffs, ACADIA

HEALTHCARE COMPANY, INC. and HABIT OPCO, LLC (together, the “Plaintiffs”), in a civil

action filed in the Superior Court of the Commonwealth of Massachusetts in and for the County

of Worcester, entitled Acadia Healthcare Company, Inc. v. City of Fitchburg, C.A. No.

2485CV01019. On November 27, 2024, the Plaintiffs delivered Summonses and copies of the
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Amended Complaint to the City. Copies of the Summonses & Order of Notice and Amended

Complaint are attached hereto as Exhibits “A” and “B,” respectively. The Municipal Defendants

have not yet answered or otherwise responded to said Summonses and Amended Complaint.

Counsel for the Parties agreed to a thirty-day extension for the Municipal Defendants to respond

to the Amended Complaint, which the Parties agree is January 17, 2024.1

       2.      This is a suit of a wholly civil nature brought in a Massachusetts state court. The

action is pending in the Superior Court of the Commonwealth of Massachusetts in and for the

County of Worcester and, accordingly, under 28 U.S.C. §§ 101, 1441(a), and Local Rule

40.1(c)(2), the United States District Court for the District of Massachusetts, Central Division, is

the proper forum for removal.

       3.      In Count I of the action, the Plaintiffs allege that the Municipal Defendants violated

the Americans with Disabilities Act, 42 U.S.C. §§ 12101, et seq.

       4.      In Count II of the action, the Plaintiffs allege that the Municipal Defendants

violated the Rehabilitation Act of 1973, 29 U.S.C. §§ 794, et seq.

       5.      In Count III of the action, the Plaintiffs allege that the Municipal Defendants

violated 42 U.S.C. § 1983 and the due process and equal protection clauses of the Fourteen

Amendment to the United States Constitution.

       6.      Because this civil action arises under the Constitution and laws of the United States,

the United States District Court has original jurisdiction under 28 U.S.C. § 1331.

       7.      The United States District Court has supplemental jurisdiction over Count IV

pursuant to 28 U.S.C. § 1367(a).


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         This Notice of Removal should not be considered a waiver of the Municipal Defendants’
right to move to dismiss the Amended Complaint for insufficient service of process or for failure
to state a claim upon which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(5)-(6).

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       8.      The Municipal Defendants are filing this Notice of Removal within thirty days of

receipt of the Summonses and Amended Complaint, within thirty days of the date this action

became removable, and within the time for filing this petition. See 28 U.S.C. § 1446.

       9.      The Municipal Defendants will file a Notice of Filing of this Notice of Removal

and a copy of this Notice of Removal with the Clerk of the Superior Court of Massachusetts,

County of Worcester.

       10.     Pursuant to Local Rule 81.1(a), the Municipal Defendants shall request of the Clerk

of the Superior Court of Massachusetts, County of Worcester, certified or attested copies of all

records and proceedings in the state court and certified or attested copies of all docket entries

therein and shall file the same with this Court within twenty-eight days after the filing of this

Notice of Removal.

       WHEREFORE, Petitioners, CITY OF FITCHBURG, CITY OF FITCHBURG ZONING

BOARD OF APPEALS, FELIX ZEMEL, LAUREN McNAMARA, MICHAEL O’LAUGHLIN,

CHRISTINE TREE, BRIAN GALLAGHER, and GREG BABINEAU, pray that the above-

entitled action now pending in the Superior Court of the Commonwealth of Massachusetts in and

for Worcester County be removed from that Court to this United States District Court.




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                                                       Respectfully submitted,

                                                       The Municipal Defendants,

                                                       CITY OF FITCHBURG, CITY OF
                                                       FITCHBURG ZONING BOARD OF
                                                       APPEALS, FELIX ZEMEL, LAUREN
                                                       McNAMARA, MICHAEL O’LAUGHLIN,
                                                       CHRISTINE TREE, BRIAN
                                                       GALLAGHER, and GREG BABINEAU,

                                                       By their Attorneys,

                                                       PIERCE DAVIS & PERRITANO LLP

                                                       /s/ Cole S. Fahrenkopf
                                                       Justin L. Amos, BBO No. 697232
                                                       Cole S. Fahrenkopf, BBO No. 710953
                                                       10 Post Office Square, Suite 1100N
                                                       Boston, MA 02109
                                                       (617) 350-0950
                                                       jamos@piercedavis.com
                                                       cfahrenkopf@piercedavis.com

Dated: December 20, 2024


                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing and
that a paper copy shall be served upon those indicated as non-registered participants on December
20, 2024.

                                       /s/ Cole S. Fahrenkopf
                                       Cole S. Fahrenkopf




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